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5
6 Attorneys for Defendant Catherine Coley
7
8
9                        IN THE UNITED STATES DISTRICT COURT
10                            FOR THE DISTRICT OF ARIZONA
11
     Ryan Cox, individually and on behalf     )         Case No.: 21-cv-08197-PCT-SMB
12   of all others similarly situated;        )
                                              )         MOTION TO DISMISS FOR LACK
13                            Plaintiff,      )         OF SERVICE AND MEMORANDUM
                                              )         IN SUPPORT OF SAME
14                      v.                    )
                                              )
15   CoinMarketCap OpCo, LLC; Binance         )
     Capital Management Co., Ltd. d/b/a       )
16   Binance and Binance.com; BAM             )
     Trading Services Inc. d/b/a              )
17   Binance.US; Changpeng Zhao;              )
     Catherine Coley; Yi He; Ted Lin; and     )
18   Does I-X;                                )
                                              )
19                            Defendants.     )
20
21
                  Defendant Catherine Coley, by and through her undersigned attorney, and
22
     pursuant to Fed. R. Civ. P. 12(b)(5), and the Court’s September 16, 2021 Order (ECF No.
23
     6), moves for dismissal of all claims against Ms. Coley on the basis that she was never
24
     properly served.
25
                      MEMORANDUM OF POINTS AND AUTHORITIES
26
                  Catherine Coley, through her counsel, has filed a limited appearance (without
27
     consenting to jurisdiction, service of process, or sufficiency of process) in order to move
28
     this Court to dismiss all claims against her pursuant to the Court’s September 16, 2021

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 1 Order (ECF No. 6), which directed Plaintiff Ryan Cox to “serve each Defendant in your
 2 case with the Summons and Complaint within 90 days from the date the Complaint is filed”
 3 or to request an extension if there is “good cause” for failing to timely effectuate service.
 4 Because Ms. Coley has not been served for the reasons explained below, and given that
 5 there is no good cause for Plaintiff’s failure to effectuate service, Plaintiff’s Motion for
 6 Extension of Time For Service (ECF No. 27) should be denied as to Ms. Coley, and the
 7 Court’s Order “directing the Clerk of Court to terminate any or all Defendants in this
 8 matter, without further notice, that have not been served within the time required by Fed.
 9 R. Civ. P. 4(m) on December 13, 2021” (ECF No. 6 at 2) should be enforced such that Ms.
10 Coley is dismissed from this case.1
11                                       Factual Background
12                  Plaintiff filed his Complaint—which is devoid of any specific factual
13 allegations connecting Ms. Coley with the alleged misconduct—over three months ago, on
14 September 13, 2021. (ECF No. 1.) Three days later, on September 16, 2021, the Court
15 issued an Order giving clear notice to Plaintiff about his obligation to timely serve
16 Ms. Coley. (ECF No. 6.) Among other things, the Order provided:
17                  Pursuant to Rule 4(m) of the Federal Rules of Civil Procedure,
18                  you must serve each Defendant in your case with the Summons
                    and Complaint within 90 days from the date the Complaint is
19                  filed, unless you obtain a waiver of service pursuant to the
                    requirements of Fed. R. Civ. P. 4(d). If, for good reason, you
20
                    cannot serve your Summons and Complaint on a Defendant
21                  within 90 days, you may, prior to the expiration of the 90-day
                    period, file with the Court a request for an extension of time in
22                  which to serve your Summons and Complaint. (Id. (emphasis
23                  in original).)

24
25
26   1
             Because Ms. Coley has not been served for the reasons explained herein, she has no
             current obligation to respond to the allegations in the Complaint (ECF No. 1). For
27           the avoidance of doubt, Ms. Coley reserves all rights to file a responsive pleading if
             necessary, and/or to assert any defenses that she may be entitled to assert, including
28           defenses that must be asserted pursuant to Fed. R. Civ. P. 12(b).

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 1 Next, in bold, capitalized text, the Order reiterated:
 2                 THIS CONSTITUTES YOUR NOTICE UNDER RULE
                   4(m) THAT IF YOU HAVE NOT APPROPRIATELY
 3                 SERVED ANY DEFENDANT WITHIN 90 DAYS FROM
 4                 THE FILING OF YOUR COMPLAINT THAT
                   DEFENDANT WILL BE DISMISSED WITHOUT
 5                 PREJUDICE FROM YOUR LAWSUIT. (Id. (emphasis in
                   original).)
 6
 7 Finally, the Order “direct[ed] the Clerk of Court to terminate any or all Defendants in this
 8 matter, without further notice, that have not been served within the time required by Fed.
 9 R. Civ. P. 4(m) on December 13, 2021.” (Id. (emphasis in original).)
10                 Rather than working to promptly serve Ms. Coley, Plaintiff waited

11 approximately two months to present a summons for Ms. Coley to the Clerk of the Court,
12 which was docketed on November 12, 2021. (ECF No. 22.) On November 15, 2021,
13 Plaintiff then filed a Motion for Alternative Service with respect to Defendants Changpeng
14 Zhao, Yi He, and Ted Lin, but not Ms. Coley. (ECF No. 24.) That motion explained that
15 Plaintiff had elected to serve Ms. Coley “by publication pursuant [sic] FRCP 4(e) . . . and
16 ARCP 4.2(f).” (Id. at 2 n.1.) Plaintiff explained that the reason for his decision was
17 purportedly that “Ms. Coley was once domiciled in the United States but has vanished.”
18 (Id. at 2.) But that signed representation that Ms. Coley has “vanished” is plainly
19 contradicted by the affidavit of Plaintiff’s private investigator, Dave Zinn, which Plaintiff
20 attached to his motion. (ECF No. 24-1.) The Zinn affidavit clearly lists three “possible
21 current addresses” for Ms. Coley, multiple phone numbers, email addresses, relatives, and
22 social media profiles, and it includes the investigator’s recommendation that Plaintiff serve
23 Ms. Coley “at [her] parents’ address, [Puerto Rico] address, and all social media.” (Id. at
24 3.) Thus, the Zinn affidavit shows: (i) Plaintiff was well-aware that Ms. Coley had not
25 “vanished,” as he represented to the Court; and (ii) Plaintiff has apparently elected not to
26 serve Ms. Coley using any of his private investigator’s recommended service methods.
27                 Instead of pursuing the methods of service recommended by Mr. Zinn, on

28 December 10, 2021, Plaintiff filed a Motion for Extension of Time For Service (ECF No.

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 1 27), which stated with respect to Ms. Coley that “Plaintiff asks for an extension of time as
 2 to Coley only out of an abundance of caution.” Notably, Plaintiff provided no justification
 3 for his significant delay, nor any explanation as to why he did not pursue traditional
 4 methods of serving Ms. Coley. Plaintiff later that same day also filed an “Affidavit of
 5 Publication” from the Arizona Capitol Times stating that a summons for Ms. Coley was
 6 purportedly published on November 19, November 26, December 3, and December 10,
 7 2021. (ECF No. 28.)
 8                 The Arizona Capitol Times newspaper is published once a week on Fridays,
 9 and its website states that it “covers state politics and policy with a focus on the daily
10 activities of the Arizona Senate, Arizona House of Representatives and the state’s top
11 elected officials, including the Governor’s Office,”2 and that it only reaches about “5,250
12 readers per issue.”3 This Court has previously referred to the Arizona Capitol Times as “a
13 self-described ‘niche’ political newspaper.” Furst v. Mayne, 2021 WL 2517957 at *2 (D.
14 Ariz. Jan. 29, 2021) (Rayes, J.).
15                 As confirmed by the affidavit of Plaintiff’s own private investigator,
16 Ms. Coley is not an Arizona resident, has never worked in the State of Arizona, and does
17 not have any family or close friends living in Arizona. (ECF No. 24-1.)
18                                        Legal Standard
19                 “Rule 12(b)(5) allows a party to move to dismiss claims against it for
20 insufficient service of process.” Kinsey v. Dep’t of Veterans Affs., 2019 WL 4228478, at
21 *2 (D. Ariz. Sept. 5, 2019) (Brnovich, J.) (dismissing complaint for lack of service). “A
22 federal court is without personal jurisdiction over a defendant unless the defendant has
23 been served in accordance with Fed. R. Civ. P. 4.” Graham v. United States, 79 F. App’x
24 992, 993 (9th Cir. 2003) (dismissing action for insufficient service of process, even where
25
     2
26           Arizona Capital Times, “About Us,” available at https://azcapitoltimes.com/about-
             us/ (last accessed December 12, 2021).
27
     3
             Arizona Capital Times, “Advertising,” available at
28           https://azcapitoltimes.com/advertising/ (last accessed December 14, 2021).

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 1 defendant had notice of the complaint). Fed. R. Civ. P. 4(m) provides that, “[i]f a defendant
 2 is not served within 90 days after the complaint is filed, the court—on motion or on its own
 3 after notice to the plaintiff—must dismiss the action without prejudice against that
 4 defendant or order that service be made within a specified time,” unless the plaintiff “shows
 5 good cause for the failure.” Fed. R. Civ. P. 4(m). “The serving party bears the burden of
 6 establishing the validity of service.” Le v. U.S. Dep’t of Agric., 2021 WL 5811809, at *2
 7 (D. Ariz. Dec. 7, 2021) (Collins, J.).
 8                                              Argument
 9                  Even though Plaintiff has admitted that he is aware of three “current
10 addresses” for Ms. Coley, as well as a veritable “kitchen sink” of other potential methods
11 of locating her, he apparently elected not to attempt service on Ms. Coley using any of the
12 traditional methods, and instead sought to serve her by publication in a weekly “niche”
13 political newspaper, which circulates in a state in which Ms. Coley has never resided.
14 Plaintiff’s decision to purport to serve Ms. Coley in this way ensured only one thing—that
15 Ms. Coley would never see that notice.
16                  As explained further below, the claims against Ms. Coley should be
17 dismissed because Ms. Coley has not been timely served in compliance with Ariz. R. Civ.
18 P. 4.2(f) and Fed. R. Civ. P. 4. Additionally, Plaintiff’s decision to attempt to serve Ms.
19 Coley—a non-resident—via publication in an Arizona newspaper fails to satisfy the
20 minimum requirements of constitutional due process. Because Plaintiff has not provided
21 any reasons, much less “good cause,” for his delay in effectuating proper service upon Ms.
22 Coley, Plaintiff should not be granted an extension of time to do so.
23 A. Ms. Coley Has Not Been Served.
24
                    Plaintiff has not satisfied the statutory requirements to serve Ms. Coley by
25
     publication. Plaintiff’s attempt at service is governed by Ariz. R. Civ. P. 4.2(f) (“Service
26
     by Publication”), which provides for service by publication of a non-resident “only
27
     if . . . (i) the serving party, despite reasonably diligent efforts, has not been able to ascertain
28
     the person’s current address; or (ii) the person has intentionally avoided service of

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 1 process.” Moreover, service by publication is only available if it is the “best means
 2 practicable in the circumstances for providing notice to the person of the action’s
 3 commencement.” Ariz. R. Civ. P. 4.2(f). Additionally, “[i]f the serving party knows the
 4 address of the person being served, it must, on or before the date of first publication, mail
 5 to the person the summons and a copy of the pleading being served, postage prepaid.” Ariz.
 6 R. Civ. P. 4.2(f)(3). Even if Plaintiff had complied with these statutory requirements,
 7 which he has not, service would still be untimely, given that the last required publication4
 8 occurred on December 10, 2021, and service is not complete until “30 days after the
 9 summons and statement is first published in all newspapers where publication is required.”
10 Ariz. R. Civ. P. 4.2(f)(2)(D) (emphasis added).
11                 First, Plaintiff has in fact been able to ascertain information that would allow
12 him to locate Ms. Coley. The affidavit of Plaintiff’s private investigator, Dave Zinn (ECF
13 No. 24-1), clearly indicates that Plaintiff had detailed information about Ms. Coley roughly
14 a month before the deadline for service expired on December 13, 2021. The affidavit
15 identified potential current addresses in Puerto Rico and North Carolina, as well as a
16 potential address for Ms. Coley’s parents in Florida. It also identified three phone numbers
17 for Ms. Coley, multiple email addresses, social media accounts, and a list of five potential
18 relatives and addresses for those relatives. Given this information, Plaintiff cannot credibly
19 argue that “despite reasonably diligent efforts, [Plaintiff] has not been able to ascertain the
20 person’s current address.” Ariz. R. Civ. P. 4.2(f)(1)(A)(i). On the contrary, Plaintiff
21 apparently made no effort to locate Ms. Coley using his private investigator’s findings or
22 to serve her by any means that would be reasonably likely to provide notice of his litigation.
23 See Furst, 2021 WL 2517957, at *2 (finding that “Plaintiffs have not shown that they were
24 unable to ascertain Linda’s current address” where evidence indicated that plaintiffs knew
25 of defendant’s out-of-state address).
26
     4
             “Service by publication is accomplished by publishing the summons and a statement
27           describing how a copy of the pleading being served may be obtained at least once a
             week for 4 successive weeks in a newspaper published in the county where the
28           action is pending.” Ariz. R. Civ. P. 4.2(f)(2)(A).

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 1                 Second, there is no evidence that Ms. Coley has intentionally avoided
 2 service. Plaintiff has not put forward any such evidence, and apparently, has not even
 3 attempted personal service on Ms. Coley. See Jes Solar Co. Ltd. v. Tong Soo Chung, 725
 4 F. App’x 467, 471 (9th Cir. 2018) (“Plaintiffs wholly failed to comply with Arizona Rule
 5 of Civil Procedure 4.2(f)” where “[t]here is no . . . evidence Kim was evading service.”);
 6 Furst, 2021 WL 2517957, at *2 (“Nor have Plaintiffs shown that Linda has intentionally
 7 avoided service of process. Plaintiffs made one attempt to serve Linda via certified mail
 8 in California before attempting service by publication.”).
 9                 Third, service on Ms. Coley by publication in the Arizona Capitol Times is
10 not the best means practicable in the circumstances for providing notice to Ms. Coley of
11 the commencement of this action. Plaintiff has “provided no explanation for why the
12 Arizona Capitol Times—a specialty publication geared toward ‘government and business
13 leaders in Arizona’ that is only published once per week and reaches approximately 5,250
14 readers per issue is the publication most likely to come to [Ms. Coley’s] attention.” Alpha
15 Prop. & Cas. Ins. Co. v. Freedom Movers LLC, 2020 WL 8991724, at *2 (D. Ariz. Mar. 4,
16 2020) (Lanza, J.) (finding that an “email address . . . would likely provide a better pathway
17 to alternative service than publication”). The Arizona Capitol Times is “a self-described
18 ‘niche’ political newspaper” that no one can reasonably expect Ms. Coley would have
19 viewed. Furst, 2021 WL 2517957, at *2 (“Plaintiffs also have not shown that service by
20 publication in the Arizona Capitol Times . . . was the best means practicable to notify Linda
21 of this action, especially when Linda does not reside here.”).
22                 Fourth, Plaintiff did not comply with the statutory requirement to mail
23 Ms. Coley a copy of the pleading being served, despite having multiple addresses linked
24 to Ms. Coley. Service by publication under Ariz. R. Civ. P. 4.2(f)(3) requires that, “[i]f the
25 serving party knows the address of the person being served, it must, on or before the date
26 of first publication, mail to the person the summons and a copy of the pleading being
27 served, postage prepaid,” and Plaintiffs must file an affidavit stating as much. Plaintiff’s
28 affidavit is tellingly silent about his mailing efforts, and Ms. Coley has not received any

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 1 such mailings. See Ariz. R. Civ. P. 4.2(f)(4)(A) (“The party or person making service must
 2 prepare, sign and file an affidavit describing the manner and dates of the publication and
 3 mailing, and the circumstances warranting service by publication. If no mailing was made
 4 because the serving party did not know the current address of the person being served, the
 5 affidavit must state that fact.”).
 6                  Finally, even if Plaintiff had complied with the requirements for service by
 7 publication (he has not), such service is still untimely. The statute requires that service by
 8 publication happen “at least once a week for 4 successive weeks in a newspaper.” Ariz. R.
 9 Civ. P. 4.2(f)(2)(A). According to Plaintiff, those four required publications occurred on
10 November 19, November 26, December 3, and December 10, 2021. (ECF No. 28.)
11 Critically, however, the statute makes clear that “[s]ervice is complete 30 days after the
12 summons and statement is first published in all newspapers where publication is required.”
13 Ariz. R. Civ. P. 4.2(f)(2)(D). Thus, the purported service by publication on Ms. Coley
14 would not be effective until 30 days after December 10, which is January 9, 2022.5 That
15 plainly exceeds the Court’s December 13, 2021 deadline for completing service. (ECF No.
16 6.) Plaintiff has no justification for his delay.
17 B. Service by Publication in an Arizona Newspaper Would Be in Violation of
18    Ms. Coley’s Due Process Rights.

19                  A plaintiff attempting service by publication must comply not only with the
20 statutory requirements, but also must meet the requirements of constitutional due process.
21 Service by publication “satisfies due process minimum notice requirements if it is the best
22 means of notice under the circumstances and it is reasonably calculated to apprise the
23 interested parties of the pendency of the action . . . . [A] plaintiff who elects service by
24 publication risks a future constitutional challenge.” Master Fin., Inc. v. Woodburn, 90 P.3d
25 1236, 1239–40 (Ariz. Ct. App. 2004). This constitutional protection is especially relevant
26
     5
27           Even if the 30-day clock begins to run on the date of first publication, November 19,
             the service would still not be effective until December 19, 2021, which exceeds the
28           December 13, 2021 deadline.

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 1 when service by publication happens for a non-resident, given that “[c]hance alone brings
 2 to the attention of even a local resident an advertisement in small type inserted in the back
 3 pages of a newspaper, and if he makes his home outside the area of the newspaper’s normal
 4 circulation the odds that the information will never reach him are large indeed.” Mullane
 5 v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 315 (1950). Because service by
 6 publication is inherently unlikely to be viewed by the intended audience, “a plaintiff
 7 servicing by publication should be prepared to explain why alternative service would be
 8 impracticable.” Ruffino v. Lokosky, 425 P.3d 1108, 1113 (Ariz. Ct. App. 2018) (holding
 9 that publication in a local newspaper did not satisfy due process even for an in-state
10 defendant, in part because “modern methods of communication, especially email, were
11 more likely to give [defendant] notice of a suit than publication in a newspaper”).
12                Ms. Coley has never been a resident of Arizona, nor does she have any close
13 friends or family in Arizona. There is no indication that Ms. Coley or anyone that she
14 knows has ever read the Arizona Capitol Times. And importantly, Plaintiff had alternative
15 means of service at his ready disposal, including personal service, as discussed above. No
16 reasonable person could argue that such service by publication “satisfies due process
17 minimum notice requirements [because] it is the best means of notice under the
18 circumstances and it is reasonably calculated to apprise the interested parties of the
19 pendency of the action.” Master Fin., Inc., 90 P.3d, at 1239.
20 C. Plaintiff Does Not Have Good Cause for Failing to Timely Effectuate Proper
21    Service.

22                The Court has already ordered that Plaintiff will be granted an extension of
23 time for service if Plaintiff is able to demonstrate a “good cause” “reason why [he has] not
24 accomplished service.” (ECF No. 6.) But Plaintiff has not provided any reasoning at all.
25 Plaintiff’s Motion for Extension of Time For Service states only that “Plaintiff asks for an
26 extension of time as to Coley only out of an abundance of caution.” (ECF No. 27 at 2 n.1.)
27 Plaintiff has not made any other attempt at justifying his substantial delay. Accordingly,
28 Plaintiff’s request for an extension of time should be denied. See DeGroote v. City of

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 1 Mesa, 2009 WL 485441, at *2 (D. Ariz. Feb. 26, 2009) (Murguia, J.) (“Dismissal of a party
 2 is appropriate where a plaintiff fails to show good cause for delays in service. Good cause
 3 only exists in rare circumstances . . . . Absent a showing of good cause, Defendants must
 4 be dismissed.”).6
 5                Courts generally grant extensions of time to serve only when plaintiffs have
 6 demonstrated a genuine effort to effectuate service—circumstances that do not apply in
 7 this case. See, e.g., Furst, 2021 WL 2517957 (granting extension where Plaintiffs
 8 previously filed multiple affidavits showing attempts at personal service and via certified
 9 mail); Alpha Prop. & Cas. Ins. Co., 2020 WL 8991724, at *1 (granting extension where
10 Plaintiff attempted to serve defendant with “six in-person attempts at two of [defendant’s]
11 known addresses” and also “mailed four packages to [defendant] (two to each address)
12 containing a Notice and Request for Waiver of Service”). Because Plaintiff has made zero
13 effort to serve Ms. Coley other than via publication in the Arizona Capitol Times, there is
14 no good cause to grant an extension.
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           Moreover, Plaintiff cannot argue that his failure to timely serve Ms. Coley is
           excused either by purported actual notice, or by his substantial compliance with the
24         statutory and federal requirements. “Unless there is ‘substantial compliance’ with
           Rule 4, even actual notice will not provide personal jurisdiction.” Graham v. United
25         States, 79 F. App’x 992, 993 (9th Cir. 2003). Even though “Rule 4 is a flexible rule
           that should be liberally construed so long as a party receives sufficient notice of the
26         complaint[,] . . . . [i]n order for the sufficient notice exception to apply, there must
           be a justifiable excuse for the defect.” Id. As discussed above, there are serious
27         statutory and constitutional issues with Plaintiff’s decision to attempt service on Ms.
           Coley by publication in the Arizona Capitol Times, and Plaintiff has no excuses for
28         his delay.

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1                                        Conclusion
2                For the reasons stated above, the undersigned respectfully requests that
3 (i) Plaintiff’s Motion for Extension of Time for Service (ECF No. 27) be denied as to Ms.
4 Coley, and (ii) the Court’s December 13 Order (ECF No. 6) be enforced such that Ms.
5 Coley be dismissed from this case.
6
7 December 15, 2021
8                                                     /s/ Ann-Elizabeth Ostrager
                                                      Ann-Elizabeth Ostrager (pro hac
9                                                     vice application pending)
10                                                    William S. Wolfe (pro hac vice
                                                      application pending)
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1                                   Certificate of Service
2                I hereby certify that on December 15, 2021, I electronically submitted the
3 foregoing document to the Clerk’s Office using the CM/ECF system for filing and
4 transmittal of a Notice of Electronic Filing to the CM/ECF registrants on record.
5
6 December 15, 2021
7                                                     /s/ Ann-Elizabeth Ostrager
                                                      Ann-Elizabeth Ostrager (pro hac
8                                                     vice application pending)
9                                                     William S. Wolfe (pro hac vice
                                                      application pending)
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